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,, w.o. ol: TN. MEMPHls
uNiTED sTATES oF AMERch,
Plaintiff,

vs. Crimina| No. 05-20206-D

REGINALD BERNARD SELLERS, *

Defendant. *

 

CONSENT ORDER REGARD|NG DISCLOSURE
AND USE OF MATER|ALS PROV|DED
PURSUANT TO DISCOVERY

 

By consent of Counsel for the defendant herein and the Government, the Court
concludes that an order should be entered in this cause governing access to certain
discovery materials that are alleged to be contraband (chi|d pornography). Counsel forthe
defendant herein and any active member of the defense team (investigator, computer
specialist expert) who, in his/her official capacity as such member, has a need to obtain
a copy of such materiat is authorized to do so, but only in complete accordance With the
following requirements of the Court:

1. Any copy made of the discovery material will be used solely for litigation

purposes in the instant matter, and will only be disclosed to the defendant
and member(s) of the defense team assisting defense counsel herein, as

neCeSSafy.

2. Alt such material (and any copy thereof) will be maintained in a secure
location at all times to prevent access by any unauthorized individual.

This document entered on the docket sheet in compliance
with eula ss and/or 32(e) mch on 52 121 “Q§ -7/2

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3. By receipt of any such material, Counsel for the defendant herein
acknowledges that he/she is aware of the protections afforded potential
victims /witnesses pursuant to Title 18, United States Code, Section 3509,
and will not disclose the name of or identity of any alleged witness /victlm to
anyone other than his client and the defense team. lVloreover, disclosure of
a victim or witness's identity to the defense team will only be made if
necessary for preparation of the defense herein.

4. Following final disposition of this matter, in the District Court, all such material
(and any copy thereof) shall be promptly returned to the United States to be
disposed of in accordance with the law.

5. Following final disposition of this matter, in the District Court, Counsel forthe
defendant shall confirm to the United States, in writing, that each of the
foregoing requirements of the Court have been fully met and that all such
material (and any copy thereof) has been returned to the custody of the
United States.

lt is so ORDERED this ZO day o|CZVM , 2005.

DONALD
ited States District Judge

  
  

  
 

APPROVED:

    

DAN L. NEWSOM
Senior Litigation Counsel

UNITED STTES DISTRIC COUR - WESRNTE D"RITICT 0 TENNESSEE

     
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

